Case 16-80113-dd      Doc 105    Filed 06/25/18 Entered 06/26/18 09:03:32          Desc Main
                                 Document      Page 1 of 1


                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA

 In re,
                                                          C/A No. 16-02250-DD
 Jennifer Rogers Bergmann,
                                                        Adv. Pro. No. 16-80113-DD
                                    Debtor.
                                                                 Chapter 7
 E. Perry Burrus, III, Lake Como, LLC,
                                                               JUDGMENT
                                   Plaintiffs,

 v.

 Jennifer Rogers Bergmann,

                                 Defendant.

        Jennifer Rogers Bermann’s discharge of debts to Lake Como for its investments in Docks
Shell, LLC and Sand Hill Stations of Bluffton, LLC is denied under 11 U.S.C. § 523(a)(4).

          AND IT IS SO ORDERED.
 FILED BY THE COURT
     06/25/2018




                                                 David R. Duncan
                                                 Chief US Bankruptcy Judge
                                                 District of South Carolina


      Entered: 06/26/2018
